IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TORRAY BAYLOR, ef a/, *
Plaintiffs, | 7
, Civil Action No. RDB-19-1195
OW, *
HOMEFIX CUSTOM *

REMODELING CORP., ef a/,

Defendants. *
* * * * x * x * * * * *
ORDER

For the reasons stated in the accompanying Memorandum Opinion, JT IS HEREBY
ORDERED this 6th day of March, 2020 that: .

1. Plaintiffs’ Motion for Conditional Collective Action Certification and Court-Facilitated
Notice (ECF No. 3) is GRANTED IN PART and DENIED IN PART.

2. A collective action is CONDITIONALLY CERTIFIED, with a class consisting of:
“all individuals who assert minimum wage or overtime claims and who
work ot worked to generate leads ot pitches for Homefix Custom
Remodeling Corporation, a/k/a Homefix Corporation at any time from

Match 6, 2017 to the present”;

3. The Motion is GRANTED IN PART and DENIED IN PART as to the contents
and manner of the proposed Notice, as set forth in Analysis section D.1-D.4 of the
Memorandum Opinion.
. The parties SHALL CONFER and SUBMIT a Joint Proposed Notice of Collective
Action consistent with the accompanying Memorandum Opinion within seven (7)

days of the date of this Order;

. The Defendants shall produce to Plaintiffs’ counsel a file containing the full name and
last known home and email addresses of all collective action members, within fifteen

(15) days of the date of this Order;

. Defendant Homefix Custom Remodeling Corporation’s Partial Motion to Dismiss
Plaintiffs’ Class and Collective Action Complaint (ECF No. 14) is DENIED AS
MOOT;

. Defendant Homefix Custom Remodeling Corporation’s Partial Motion to Dismiss
Plaintiffs’ First Amended Class and Collective Action Complaint (ECF No. 26), applied
to Plaintiffs’ Second Amended Complaint (ECF No. 37), is DENIED; and

. The Clerk of this Court shall transmit copies of this Order and accompanying

Memorandum Opinion to the parties.

LMDBSO

Richard D. Bennett
United States District Judge
